      CASE 0:11-cr-00087-MJD-TNL           Doc. 836     Filed 12/14/12    Page 1 of 2




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                    Criminal. No. 11-87 (MJD/JJK)

                     Plaintiff,
                                                      FINAL ORDER OF FORFEITURE
v.

7. ADETKUNBO ALUBUNMI ADEJUMO

                     Defendant.


       WHEREAS, on September 10, 2012, this Court granted the Plaintiff’s motion for

a Preliminary Order of Forfeiture forfeiting $1,417.25 in U.S. currency to the United

States pursuant to 18 U.S.C. § 982(a)(2) and 21 U.S.C. § 853(p);

       WHEREAS, the Plaintiff posted a Notice of Criminal Forfeiture for a least 30

consecutive days on an official government internet site (www.forfeiture.gov), beginning

on October 4, 2012, providing notice of the government’s intention to dispose of the

above-described property in accordance with law, and of the right of third parties to

petition the Court within 60 days of the first date of posting for a hearing to adjudicate

the validity of their alleged legal interest in the above property; and

       WHEREAS, no petitions have been filed with the Clerk of Court and the time for

filing a petition has expired;

       NOW, THEREFORE, IT IS HEREBY ORDERED that:

       1.     the Motion of the United States for a Final Order of Forfeiture [Docket No.

829] is GRANTED;
      CASE 0:11-cr-00087-MJD-TNL         Doc. 836    Filed 12/14/12   Page 2 of 2




      2.     all right, title and interest in the $1,417.25 in U.S. currency is hereby

forfeited to and vested in the United States of America pursuant to 18 U.S.C. § 982(a)(2)

and 21 U.S.C. § 853(p); and

      3.     the above property shall be disposed of by the United States in accordance

with law.

      LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: December 14, 2012                 s/ Michael J. Davis
                                         MICHAEL J. DAVIS, Chief Judge
                                         United States District Court
